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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA

 

CENTRAL DIVISION
JOHN DOE,
No. 4:l7-cv-O79-RGE-SBJ

Plaintiff,
vs.
GRINNELL COLLEGE, SARAH DEFENDANTS’ REDACTION
MOSCHENROSS, ANGELA VOOS, and REQUEST FOR TRANSCRIPT
BAILEY ASBERRY, GENERATED FOR FEBRUARY 7, 2019

HEARING
Defendants.

 

 

Defendants Grinnell College, Sarah Moschenross, Angela Voos, and Bailey Asberry

respectfully request redaction of the following excerpts of the transcript generated for the

February 7, 2019 hearing in compliance With the confidentiality requirements in the Order

(docket no. 45) and Order (docket no. 107):

l.

2.

lO.

Page 8, lines l-l4
Page lO, lines l-9; 22
Page ll, lines 15-23
Page 12; lines 1-3
Page 30, lines 23-20
Page 3l, lines 3-20
Page 34, lines 15-21
Page 36, lines l9-22
Page 38, lines 8-25

Page 39, all lines

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ll.

12.

l3.

l4.

Page 40, lines l-2; l3-24
Page 41, lines l-4
Page 61; lines 4-10

Page 63, lines l-lO.

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CERTIFICATE OF SERVICE

l hereby certify that on Marcli 4, 2019 l electronically filed the foregoing document With
the Clerk of Court using the ECF system Which Will send notification of such filing to the
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